Case 8:19-cr-00400-WFJ-TGW Document1 Filed 06/01/19 Page 1 of 7 PagelD 1

AQ 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT
for the
Middle District of Florida

8: 19M 51775 JSS

Case No,

United States of America
v.

MARK EDWARD ALLEN

ON Ne es te a

 

Defendant(s)

CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of _ May 29, 2019 and May 31,2019 in the county of Pinellas in the

 

Middle District of Florida , the defendant(s) violated:

Code Section , Offense Description
26 U.S.C. § 5861(d) Possession of an unregisterad destructive device

This criminal complaint is based on these facts:

See Affidavit in Support of Criminal Complaint, attached hereto

@ Continued on the attached sheet. ——- —>
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Mn Complainant's signature
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Christopher Franck, Special Agent, Fl
Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.] by telephone.

PNY ranch

Date: 06/01/2019

 

Judge's signature

City and state: Tampa, Florida ICERTIEY THE FOdmieSipiaerd, RESANTEG rate Judge
AND CORRECT COPY OF THE ORIGINAL.
CLERK OF COURT
UNITED STATES DISTRICT COURT
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Case 8:19-cr-00400-WFJ-TGW Document 1 Filed 06/01/19 Page 2 of 7 PagelD 2

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

 

I, Christopher Franck, being duly sworn, state as follows:

1. Ihave been employed as a Special Agent of the Federal Bureau of
Investigation for approximately 9 years, Prior to that, I was a Captain in the
United States Marine Corps with responsibilities that included handling and
employing explosives and improvised explosive devices. Since July 2012, 1
have been assigned to the FBI Tampa Field Office as a Special Agent Bomb
Technician. In my capacity as a Special Agent, I have investigated multiple
violations of federal law, including violent crimes, domestic terrorism,
international terrorism, and firearms and explosives offenses. I have also
worked with local, county, and state bomb squads to address and render safe
various types of explosives and improvised explosive devices.

2. I submit this affidavit in support of a criminal complaint against
MARK EDWARD ALLEN. As set forth herein, I have probable cause to
believe that ALLEN has committed a violation of 26 U.S.C. § 5861(d)
(possession of an unregistered destructive device),

3, The facts in this affidavit come from information obtained during
the course of a criminal investigation. The statements contained in this
affidavit are based on my own investigation of this matter, my training and

experience, and information learned and relayed to me by other law
Case 8:19-cr-00400-WFJ-TGW Document1 Filed 06/01/19 Page 3 of 7 PagelD 3

enforcement officers. Because this affidavit is submitted for the limited
purpose of establishing probable cause for a criminal complaint, it does not
include all information I have learned during this investigation.

PROBABLE CAUSE

 

4, On or about May 29, 2019, Tampa Police Department (“TPD”)
bomb-squad members and I responded to a call from the Veteran’s Affairs
Hospital in Bay Pines, Florida (the “VA Hospital”). The VA Hospital and
ALLEN's residence are both within the Middle District of Florida. The call
from the VA Hospital concerned a suspected improvised explosive device
located on VA Hospital grounds (the “VA Hospital IED”),

5. Once I and the TPD bomb technicians arrived at the VA
Hospital, we used an x-ray tool to determine the make-up, components, and
contents of the VA Hospital IED. The x-ray revealed, among other
components, a 9-volt battery, electrical wires, an unprovised initiator, an
unknown powder, and a clothes-pin switch. Based on my training, experience,
and this investigation, I know that these components, or components like
these, are commonly used to construct improvised explosive devices.

6. After the x-ray revealed the above-described components, bomb

technicians used a disruption tool remotely render the VA Hospital IED safe.
Case 8:19-cr-00400-WFJ-TGW Document1 Filed 06/01/19 Page 4 of 7 PagelD 4

7, After rendering the VA Hospital IED safe, I, along with other
bomb technicians, remotely dissembled and examined the device and its
contents, That examination revealed that the VA Hospital IED contained an
unknown black powder. A thermal-susceptibility test was performed with a
sample of the unknown black powder and I determined that it was energetic
and consistent with pyrotechnic-type powders. Based on my training,
experience, and this investigation, I know that energetic powder like the
unknown black powder found within the VA Hospital IED can be used in
improvised explosive devices to cause an explosion.

8. The FBI then collected the VA Hospital IED and sent it to the
FBI's explosives unit in Virginia for further laboratory analysis, That analysis
is Ongoing.

9, As part of the FBI's investigation into the VA Hospital IED, the
FBI obtained video-surveillance footage from the VA Hospital and a Wawa
convenience store located across the street from where the FBI found the VA
Hospital IED, The video surveillance shows a person leaving the VA Hospital
IED at the VA Hospital at approximately 4:59 a.m. on May 29, 2019, The
person who placed the VA Hospital IED at the VA Hospital is a white male

with a long gray beard who was wearing a U.S, Army baseball hat, a blue long

_ sleeve shirt, shorts, and black shoes.
Case 8:19-cr-00400-WFJ-TGW Document1 Filed 06/01/19 Page 5 of 7 PagelD 5

10. On or about May 31, 2019, the Tampa Police Department’s ©
bomb squad was dispatched to a home on 24th Avenue North in St.
Petersburg, Florida, regarding another improvised explosive device. A female
complainant (the ““Complainant”) called the St. Petersburg Police Department
and reported that her husband, Mark Edward ALLEN, a United States Army
veteran, had made a bomb at his home, which is located 637 88th Ave N ;
Apartment 3, St. Petersburg, Florida (the “St, Pete IED”). The Complainant
ultimately explained that, while ALLEN was sleeping, she put the St. Pete

_ IED in the trunk of her car and drove it to a friend’s house on 24th Avenue
North because she was scared. As a result, TPD bomb squad personnel and I
responded to the home on 24th Avenue North to investigate.

11. Bomb technicians used an x-ray tool to determine the make-up,
components, and contents of the St. Pete IED. The x-ray revealed, among
other components, a tube filled with a light bulb (the improvised initiator),
electrical wires, and an unknown powder. Based on my training, experience,
and this investigation, I know that these components, or components like

these, are commonly used to construct improvised explosive devices.’

 

I At the time of submission of this affidavit, FBI and TPD bomb
technicians have not yet rendered the St. Pete IED safe, which would allow
for further examination of the IED and its component parts.

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Case 8:19-cr-00400-WFJ-TGW Document 1 Filed 06/01/19 Page 6 of 7 PagelD 6

12. After examining the devices, the FBI determined that the St. Pete
JED and the VA Hospital IED likely came from the same person. As a result,
Tshowed a still-image of the above-described person taken from the Wawa
surveillance footage to the Complainant, who confirmed that the person seen
placing seen in the Wawa surveillance footage was her husband, Mark
Edward ALLEN. As described above, the person shown in the Wawa
surveillance footage is the same person who was shown in the VA Hospital
surveillance footage placing the VA Hospital IED at the VA Hospital. The
Complainant also confirmed that ALLEN is a US. Army veteran who goes to
the VA Hospital for various medical conditions and who had scheduled’
medical appointments at the VA Hospital during the week of May 27, 2019.

13. Based on my training, experience, this investigation, and my
consultation with an explosives enforcement officer With the Bureau of
Alcohol, Tobacco, Firearms, and Explosives (“ATF”), I know that the VA
Hospital IED and the St. Pete IED are considered “destructive devices” under
26 U.S.C. § 5845(f)(1).

14. On or about May 31, 2019, I received a verbal confirmation from
ATF that a preliminary records search shows no registration of any destructive

devices by ALLEN in the National Firearms Registration and Transfer

Record as required by Title 26, United States Code.
Case 8:19-cr-00400-WFJ-TGW Document 1 Filed 06/01/19 Page 7 of 7 PagelD 7

15, Based on the foregoing, I have probable cause to believe that
MARK EDWARD ALLEN has committed violations of federal law, namely
ALLEN possessed an unregistered destructive device on or about May 29 and
May 31, 2019, in violation of 26 U.S.C. § 5861(d). Accordingly, I respectfully
request the issuance of'a criminal complaint authorizing ALLEN’s arrest

This completes my affidavit.

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Chaser Franck, Special Agent

deral Bureau of Investigation

Sworn to and subscribed
before me this Ist day
of June, 2019,

JUMIE S. SNEED
UNITED STATES MAGISTRATE JUDGE
